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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN


WILLIAM SWARVAR,

          Plaintiff,

-vs-                                                            CASE NO:
                                                                HONORABLE:

MUSKEGON CHARTER TOWNSHIP,
MATTHEW ANDERSON, and JOSEPH
LUCE, in their individual and official capacities,

          Defendants.

 CHRISTOPHER TRAINOR & ASSOCIATES
 CHRISTOPHER J. TRAINOR (P42449)
 AMY J. DEROUIN (P70514)
 Attorneys for Plaintiff
 9750 Highland Road
 White Lake, MI 48386
 (248) 886-8650
 amy.derouin@cjtrainor.com
       THERE ARE NO OTHER PENDING OR RESOLVED ACTIONS ARISING OUT OF THE TRANSACTION OR OCCURRENCE
                                        ALLEGED IN THIS COMPLAINT


                               COMPLAINT AND JURY DEMAND

          NOW COMES Plaintiff, WILLIAM SWARVAR, by and through his attorneys,

CHRISTOPHER TRAINOR AND ASSOCIATES, and for his Complaint against the above-

named Defendants states as follows:

   1. Plaintiff is currently a resident of the City of White Cloud, County of Newaygo, State of

          Michigan.

   2. Defendant Muskegon Charter Township is a municipal corporation and governmental

          subdivision organized and existing under the laws of the State of Michigan.




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3. That individually-named Defendant Matthew Anderson is and/or was a police officer

   employed by the Muskegon Charter Township Police Department and was acting under

   the color of law, in his individual and official capacity, and in the course and scope of his

   employment at all times mentioned herein.

4. That individually-named Defendant Joseph Luce is and/or was a police officer employed

   by the Muskegon Charter Township Police Department and was acting under the color of

   law, in his individual and official capacity, and in the course and scope of his employment

   at all times mentioned herein.

5. All events giving rise to this lawsuit occurred in the Charter Township of Muskegon,

   County of Muskegon, State of Michigan.

6. This lawsuit arises out of Defendants’ violation of Plaintiff’s federal constitutional rights

   as secured by the Fourth Amendment and Fourteenth Amendment to the United States

   Constitution and consequently, Plaintiff has a viable claim for damages under 42 U.S.C.

   §1983 as well as state law claims.

7. Jurisdiction is vested in this Court pursuant to 28 U.S.C. §1331 (federal question) and 28

   U.S.C. § 1343 (civil rights).

8. That the amount in controversy exceeds Seventy-Five Thousand Dollars ($75,000.00), not

   including interest, costs, and attorney fees.

                                          FACTS

9. Plaintiff realleges and incorporates by reference each and every paragraph of this

   Complaint as though fully set forth herein.

10. On or about December 24, 2012, Plaintiff and his girlfriend were asleep in their apartment.

11. That sometime thereafter, Plaintiff’s girlfriend awoke to find Plaintiff having a seizure.




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12. That Plaintiff’s girlfriend called 911 and the Muskegon County Fire Department and Pro

   Med EMS services arrived.

13. By the time the first responders arrived, Plaintiff seemed to have recovered from his seizure

   and was walking around his apartment although he was confused and dazed as a result of

   the seizure.

14. Despite Plaintiff’s need of medical attention, the individual Defendants were dispatched to

   Plaintiff’s resident, upon information and belief, to force medical treatment upon him.

15. When the Defendant Luce and Defendant Anderson arrived, Plaintiff was walking around

   his apartment and not engaged in any unlawful activities whatsoever.

16. That Defendant Luce and Defendant Anderson entered Plaintiff’s apartment and ordered

   him to seek medical treatment even though Plaintiff did not need said treatment.

17. That even though Plaintiff was no harm to anyone, including himself, Defendant Luce

   forcefully grabbed Plaintiff’s arm without any justification whatsoever.

18. Defendant Anderson then tazed Plaintiff in the chest for no justification whatsoever.

19. That Plaintiff was subsequently tazed approximately three more times, as well as pepper

   sprayed, but Defendant Anderson for no legal justification whatsoever and without

   warning.

20. That Defendant Luce and Defendant Anderson subsequently threw Plaintiff to the ground,

   forcefully slammed his head into the cement porch, and unjustly kneed his face as well.

21. Plaintiff was subsequently transported to Hackley Hospital for treatment of his injuries.

22. As a result of Defendants’ unlawful actions and/or inactions, Plaintiff sustained injuries

   and damages.




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                                    COUNT I
                  VIOLATION OF THE FOURTH AMENDMENT
                      42 U.S.C. § 1983 EXCESSIVE FORCE

23. Plaintiff realleges and incorporates by reference each and every paragraph of this

   Complaint as though fully set forth herein.

24. At all relevant time herein, the individually-named Defendants were acting under the color

   of law, within the course and scope of their employment, and in their individual and official

   capacities.

25. The individually-named Defendants violated Plaintiff’s clearly established and federally

   protected rights as set forth under the United States Constitution and the Amendments

   thereto, including, but not limited to, the Fourth Amendment of the United States

   Constitution to be free from unreasonable searches and seizures, mainly to be free from the

   excessive use of force, when the individually-named Defendants employed unnecessary

   and unreasonable excessive force which resulted in significant injuries to Plaintiff.

26. The actions/inactions of the individually-named Defendants were at all times objectively

   unreasonable and in violation of Plaintiff’s clearly established rights under the Fourth

   Amendment of the United States Constitution, and proximately resulted in injuries and

   damages to Plaintiff.

27. The individually-named Defendants are not entitled to qualified immunity because they

   violated Plaintiff’s clearly established Fourth Amendment right to be free from the

   excessive use of force.

28. As a proximate result of individually-named Defendants’ violation and/or deprivation of

   Plaintiff’s constitutional rights, Plaintiff has a viable claim for compensatory and punitive

   damages pursuant to 42 U.S.C. § 1983 together with costs, interest and attorney fees




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       pursuant to 42 U.S.C. § 1988.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in his favor and against Defendants in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00) exclusive of interest, costs, and attorney fees.

                            COUNT II
      DEFENDANT MUSKEGON CHARTER TOWNSHIP’S CONSTITUTIONAL
                          VIOLATIONS

   29. Plaintiff realleges and incorporates by reference each and every paragraph of this

       Complaint as though fully set forth herein.

   30. Defendant Muskegon Charter Township acted recklessly and/or with deliberate

       indifference when it practiced and/or permitted customs and/or policies and/or practices

       that resulted in constitutional violations to Plaintiff.

   31. That these customs and/or policies and/or practices included, but were not limited to, the

       following:

           a. Failing to adequately train and/or supervise its police officers so as to prevent

               violations of citizen’s constitutional rights;

           b. Failing to adequately train and/or supervise police officers regarding the proper use

               of force;

           c. Failing to supervise, review, and/or discipline police officers whom Defendant

               Muskegon Charter Township knew or should have known were violating or were

               prone to violate citizens’ constitutional rights, thereby permitting and/or

               encouraging its police officers to engage in such conduct; and




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           d. Failing to adequately train and/or supervise its police officers in the proper policies

               and procedures for establishing probable cause to arrest and the proper policies and

               procedures for effectuating an arrest without the use of excessive force.

   32. Defendant’s conduct demonstrated a substantial lack of concern for whether an injury

       resulted.

   33. Defendant’s acts and/or indifference and/or omissions were the direct and proximate cause

       of Plaintiff’s injuries.

   34. As a direct and proximate result of Defendant Muskegon Charter Township’s violations

       and/or deprivations of Plaintiff’s constitutional rights, Plaintiff has a viable claim for

       compensatory and punitive damages pursuant to 42 U.S.C. § 1983 together with costs,

       interest and attorney fees pursuant to 42 U.S.C. § 1988.

       WHEREFORE, Plaintiff respectfully requests that this Honorable Court enter an award

in his favor and against Defendants in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00) exclusive of interest, costs, and attorney fees.

                                              Respectfully Submitted,
                                              CHRISTOPHER TRAINOR & ASSOCIATES

                                              s/ Amy J. DeRouin
                                              CHRISTOPHER J. TRAINOR (P42449)
                                              AMY J. DEROUIN (P70514)
                                              Attorneys for Plaintiff
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                                              White Lake, MI 48386
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Dated: December 18, 2014
AJD/aml




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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN


WILLIAM SWARVAR,

        Plaintiff,

-vs-                                                   CASE NO:
                                                       HONORABLE:

MUSKEGON CHARTER TOWNSHIP,
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                                DEMAND FOR TRIAL BY JURY

        NOW COMES Plaintiff, WILLIAM SWARVAR, by and through his attorneys,

CHRISTOPHER TRAINOR AND ASSOCIATES, and hereby makes a demand for trial by jury

in the above-entitled cause.

                                            Respectfully Submitted,
                                            CHRISTOPHER TRAINOR & ASSOCIATES

                                            s/ Amy J. DeRouin
                                            CHRISTOPHER J. TRAINOR (P42449)
                                            AMY J. DEROUIN (P70514)
                                            Attorneys for Plaintiff
                                            9750 Highland Road
                                            White Lake, MI 48386
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Dated: December 18, 2014                    amy.derouin@cjtrainor.com
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